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               EXHIBIT 4




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                                                                                        •    Before using tap water for drinking or cooking, run your tap on cold for one
                                                                                             to two minutes. For details, go to:
                                                                                              http://www.cdc.gov/nceh/lead/tips/water.htm
    IMPORTANT INFORMATION REGARDING YOUR DRINKING WATER                                 •    Households should never use hot water for drinking or cooking.
            **Lead and Copper Rule Treatment Technique Violation:                       •    Residents should clean out their faucet aerators by unscrewing the aerator
Water Quality Parameters Monitoring Results Not Meeting Minimum Values**                     at the tip of the faucet and removing any particles or sediment that has
            **Lead and Copper Rule Treatment Technique Violation:                            collected in the filter screen.
                       Failure to Install Corrosion Control**                           •    Any child five years of age or younger and any pregnant woman should use
 **Long Term 1 Enhanced Surface Water Treatment Rule Treatment Technique                     filtered water http://info.nsf.org/Certified/DWTU/ or bottled water for drinking
              Violation: Exceedances of Monthly Turbidity Limits**                           and cooking.
                                                                                        •    Baby formula should be “ready-to-feed” or prepared using only filtered water
Our water system violated drinking water standards and drinking water                        or bottled water.
requirements. Although this is not an emergency, as our customers, you have a           •    Parents with children five (5) years or younger should contact their child’s
right to know what happened, what you should do, and what we are doing to                    pediatrician or primary care provider to make sure that adequate lead
correct this situation.                                                                      screening and blood testing have been performed.

Water samples for March 2021 showed that 8.1% of turbidity measurements                 WHAT DOES THIS MEAN?
were over 0.30 turbidity units. The standard is that no more than five percent          This is not an emergency. If it had been, you would have been notified within 24
(5%) of samples may exceed 0.30 turbidity units per month. The turbidity levels         hours. Turbidity has no health effects. However, turbidity can interfere with
are relatively low. However, their persistence is a concern. Normal turbidity           disinfection and provide a medium for microbial growth. Turbidity may indicate
levels at our plant are below 0.30 turbidity units. Because of these high levels of     the presence of disease-causing organisms. These organisms include bacteria,
turbidity, there was an increased chance that the water may have contained              viruses, and parasites which can cause symptoms such as nausea, cramps,
disease-causing organisms. During these elevated turbidity events, the system           diarrhea, and associated headaches. However, we do not know of any
was under a Precautionary Boil Water Notice.                                            contamination, and none of our testing has shown disease-causing organisms in
                                                                                        the drinking water. If you experience any of these symptoms and they persist,
We routinely sample water at consumers’ taps for lead and copper. In 2015, tests        you may want to seek medical advice.
showed lead levels in the distribution system water above the action level.
Additionally, a routine inspection conducted in November 2016 by Mississippi            Typically, lead and copper enter the water supply by leaching from lead or brass
State Department of Health (MSDH) found inadequate application of treatment             pipes and plumbing components. New lead pipes and plumbing components
chemicals due to a failing corrosion control system at the O. B. Curtis Water           containing lead are no longer allowed for this reason. However, many older
Treatment Plant. As required by Environmental Protection Agency, we were                homes may contain lead pipes. Your water is more likely to contain high lead
required to take action to correct this deficiency. After testing and analyses of our   levels if water pipes in or leading to your home are made of lead or contain lead
treatment plants and distribution system, we began installation of optimized            solder. High levels of lead and copper in drinking water is nearly always due to
corrosion control treatment in October 2017. This treatment helps prevent lead          pipes and fittings in the plumbing. Infants and children who drink water containing
and copper in pipes and plumbing components from dissolving into the drinking           lead in excess of the action level over many years could experience delays in
water. During the monitoring periods of 2018, 2019, 2020, and 2021, we failed to        their physical or mental development. The high level of lead in the blood is the
consistently meet treatment technique requirements for our system which is a            actual reason for the delays. Children could show slight deficits in attention span
violation of the Lead and Copper Rule and a requirement of the City’s Optimized         and learning abilities. Adults who drink this water over many years could develop
Corrosion Control Plan. Corrosion control installation has been completed at O.         kidney problems or high blood pressure.
B. Curtis Water Treatment Plant, but is incomplete at J. H. Fewell Water
Treatment Plant due to a reassessment of the Optimized Corrosion Control                WHAT IS BEING DONE?
Treatment plan. The water system will remain in violation for not installing the        • We have inspected and cleaned filters, as well as added chemicals to
corrosion control treatment until installation is complete, and approved by the            reduce turbidity.
Mississippi State Department of Health.                                                 • We sampled both untreated and treated water for the presence of coliform
                                                                                           bacteria.
WHAT SHOULD I DO?                                                                       • We have evaluated and made corrective actions to our existing corrosion
You do not need to boil your water. We do not know of any contamination, and               control system to stabilize the pH in the distribution system. This evaluation
none of our testing has shown disease-causing organisms in the drinking water.             and corrective actions are an ongoing process.
If you have a severely compromised immune system, have an infant, are                   • We have increased monitoring of water quality parameters in the distribution
pregnant, or are elderly, you may be at increased risk and should seek advice              system and at the treatment plants.
from your health care providers about drinking this water. General guidelines on        • The engineering consultant has completed the corrosion control studies for
ways to lessen the risk of infection by microbes are available from EPA’s Safe             the water treatment plants and distribution system and the results are being
Drinking Water Hotline at 1-800-426-4791.                                                  evaluated.
                                                                                        • Optimized corrosion control treatment will be installed and operational in
Although the majority of home lead testing performed identified no lead or lead
                                                                                           2021.
below the action level set by the EPA, MSDH has issued these recommendations
as a special precaution, especially for households with young children or
                                                                                        For more information, please contact the City of Jackson Water Laboratory at
pregnant women. These precautions should remain in place until further notice
                                                                                        601-960-2723.
while the City continues its efforts to make required changes to stabilize the pH
levels in its water system that can cause corrosion.
                                                                                        “Please share this information with all the other people who drink this water,
• If you have specific health concerns, consult your doctor. If you have a              especially those who may not have received this notice directly (for example,
      severely compromised immune system, have an infant, are pregnant, or are          people in apartments, nursing homes, schools, and businesses). You can do this
      elderly, you may be at increased risk and should seek advice from your            by posting this notice in a public place or distributing copies by hand or mail.”
      health care providers about drinking this water. General guidelines on ways
      to lessen the risk of infection by microbes are available from EPA’s Safe         This notice is being sent to you by the City of Jackson PWS ID#: MS0250008.
      Drinking Water Hotline at 1-800-426-4791.                                                      Date distributed: May 12, 2021.
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